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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


MATTHEW E. ORSO,

      Plaintiff,

v.                                                      Case No: 8:21-mc-117-TPB-JSS

SCOTT COOK,

      Defendant.
___________________________________/

                                        ORDER

      On August 14, 2017, the United States District Court for the Western District

of North Carolina entered final judgment in favor of Plaintiff and against the

Defendant in the amount of $2,869.00. (Dkt. 1-1.)           Plaintiff registered the final

judgment with this Court on September 17, 2021. (Dkt. 1.) As such, the judgment

has the same force and effect as if it were entered by this Court. See 28 U.S.C. § 1963.

      Plaintiff states that Defendant has not satisfied any portion of the judgment.

(Dkt. 3 at 2.) However, Plaintiff believes that Suntrust Banks, Inc. has in its possession

and control money or property belonging to the Defendant sufficient to satisfy the

judgment in whole or in part. Accordingly, Plaintiff moves for the issuance of a writ

of garnishment as to Suntrust Banks, Inc., as Garnishee. (Dkt. 3.)

                            APPLICABLE STANDARDS

      A party may enforce a money judgment by a writ of execution. Fed. R. Civ. P.

69(a)(1). The procedure must accord with the procedure of the state where the court
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is located. Id. In Florida, a person who has recovered a judgment in any court against

any entity has a right to a writ of garnishment. Fla. Stat. § 77.01. Chapter 77 of the

Florida Statutes sets forth the procedure for obtaining a writ of garnishment under

Florida law. After judgment has been obtained against a defendant, but before the

writ of garnishment is issued, the plaintiff shall file a motion stating the amount of the

judgment. Fla. Stat. § 77.03. The proposed writ shall state the amount named in the

plaintiff’s motion and require the garnishee to serve an answer on the plaintiff within

twenty days after service of the writ. Fla. Stat. § 77.04. Post-judgment writs of

garnishment may be issued ex parte and without notice to the judgment debtor. See

United Presidential Life Ins. Co. v. King, 361 So. 2d 710, 713 (Fla. 1978); Commc’ns Ctr.,

Inc. v. Komatsu, No. 6:05-cv-1254-ORL-31GJK, 2008 WL 2717669, at *1 (M.D. Fla.

June 27, 2008) (citing Brown v. Liberty Loan Corp. of Duval, 539 F.2d 1355, 1363 (5th

Cir. 1976)).

                                      ANALYSIS

      As Plaintiff has obtained a judgment against Defendant, Plaintiff has a right to

a writ of garnishment. Fla. Stat. § 77.01. Plaintiff’s Motion states the amount of the

judgment and Plaintiff attached a proposed writ as an exhibit to the Motion. (Dkt. 3-

1.) The proposed writ states the amount in the Motion and directs Suntrust Banks,

Inc. to respond within twenty days.

      Accordingly, it is ORDERED:




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      1. Plaintiff’s Motion for Writ of Garnishment After Judgment (Dkt. 3) is

         GRANTED.

      2. The Clerk of Court shall issue a writ of garnishment to Suntrust Banks, Inc.,

         c/o Corporation Service Company, 1201 Hays Street, Tallahassee, FL

         32301. The Clerk of Court shall use the proposed Writ of Garnishment

         attached to Plaintiff’s Motion. (Dkt. 3-1.) The writ of garnishment shall

         include copies of Plaintiff’s Motion (Dkt. 3) and the registered judgment

         (Dkt. 1).

      3. The Clerk shall also attach to the writ the “Notice to Defendant” required

         by Section 77.041(1) of the Florida Statutes.

      4. Plaintiff is directed to comply with Section 77.041(2) of the Florida Statutes.

      DONE and ORDERED in Tampa, Florida, on November 15, 2021.




Copies furnished to:
Counsel of Record




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